Case 1: 05- --cr 10030- .]DT Document 30 Filed 09/01/05 Page 1 of 2 P$ge|D 44

0
@);\
IN THE UNITED STATES DISTRICT COURT SJ,-€° / 0
FoR THE wEsTERN DISTRICT oF TENNESSE /°,y/ 'Q
EASTERN DIVISION - __ a y ‘°'.;~6~
/`\ ` .,/1- s iii/dl
UNITED sTATEs oF AMERICA, /“i§f@(/
Pl ' ' b’“’,,Oi-”lp/
alntlff,
vs. No. 05-10030-T
THoMAs RUssELL TACKETT,
Defendant.

ORDER CONTINUING TRIAL AND EXCLUDING DELAY

Upon motion of counsel for defendant Thomas Russell TackettJ with no objection from
the government and for good cause shown, the trial date Which is currently scheduled for
September 6, 2005, is hereby continued Defendant contends that additional time is needed for
preparation for the trial.

The court finds that the defendant’s need for a continuance for additional preparation
outweighs the best interests of the public and the defendant in a speedy trial; therefore, the ends
of justice Will be served by granting a continuance in order to allow the defendant more time to
prepare for trial. Accordinglv. the trial is continued from September 6. 2005. to October 3.
2005 at 9:30 A.M. The resulting period of delay, from September 6, 2005, to October 3,
2005, is excluded pursuant to 18 U.S.C. § 3161(h)(8)(A).

IT IS SO ORDERED.

g..

M/[ES D. TODD
ITED TATES DISTRICT JUDGE

/ SMF

DA'TE

 

 

Thts document entered on the docket e ` In compllance
with Rule 55 andlor 32(!)) FHCrP on

 

wESTERN

Notice of Distribution

This notice confirms a copy of the document docketed as number 30 in
case 1:05-CR-10030 was distributed by faX, mail, or direct printing on
September 1, 2005 to the parties listed.

 

J ames W. Powell

U.S. ATTORNEY'S OFFICE
109 S. Highland Ave.

Ste. 300

Jacl<son, TN 38301

M. Dianne Smothers

FEDERAL PUBLIC DEFENDER
109 S. Highland Ave.

Ste. B-S

Jacl<son, TN 38301

Honorable J ames Todd
US DISTRICT COURT

